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                            EXHIBIT 47




                                     Exhibit 47
                                       6635
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                                                                  SFUND RECORDS CTR
                                                                      1654-04512




                                  SUMMARY
                                     Of                                      AR2497
               8-6-91 TECHNICAL MEETING BETWEEN EPA AND MSG

                                                                   SFUND RECORDS CTR
                                                                      88103057
              Issue                                Status
  Materials Present at McColl EPA and MSG agree on the types of
                              materials present at McColl. EPA
                              does not divide the materials into
                              the same categories as MSG. EPA has
                              three categories: (i) tar and
                              asphalt/ (ii) contaminated material
                              and (iii) clean fill. MSG believes
                              the materials can be categorized
                              into five types based on pathways
                              and waste characteristics:
                              (i) arsenic, (ii) drilling muds,
                              (iii) tarry material, (iv) asphaltic
                              material and (v) contaminated soil.
  Contaminants of Concern           EPA and MSG agree that benzene,
    at McColl                       thiophenes, SC>2, arsenic and acidic
                                    materials are the potential risk
                                    "drivers" at the site. EPA believes
                                    these contaminants are the potential
                                    "drivers" in a broad sense and that
                                    other contaminants such as other
                                    sulfur compounds (H^S), toluene and
                                    xylene will be considered as well.
                                    This issue will require further
                                    discussion in meetings regarding
                                    remedial action objectives and risk
                                    assessment.
  Pathways                          EPA and MSG agree that direct
                                    contact, ingestion, inhalation,
                                    surface water and groundwater are
                                    the potential exposure pathways to
                                    be evaluated at McColl.
                                    Historically, EPA has viewed
                                    inhalation and ingestion as the
                                    major potential pathways. ICF is
                                    looking at pathways on behalf of EPA
                                    in the context of the risk
                                    assessment. EPA currently views
                                    ingestion, inhalation and
                                    groundwater as the major potential
                                    pathways of concern. The surface




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                                    water pathway will be investigated
                                    as part of the groundwater risk
                                    assessment.
  Tar/Asphalt Relationship          EPA and MSG agree the tar to asphalt
                                    irreversible conversion process
                                    hypothesis is sound. EPA and DHS
                                    have asked some questions about how
                                    the chemistry process actually works
                                    at McColl. EPA is interested in any
                                    variation in ash content within the
                                    asphaltic material and in obtaining
                                    Professor Satterfield's paper on
                                    this issue. MSG will provide
                                    Professor Satterfield's paper by
                                    early September.
  Remediation of Tar and            MSG believes the tar and asphalt are
    Asphalt                         two distinct materials that should
                                    be analyzed individually in
                                    developing remediation. EPA
                                    currently believes remediation of
                                    the tar and asphalt should be the
                                    same. EPA wishes to review
                                    Professor Satterfield's paper on the
                                    tar and asphaltic materials.
                                    Further discussion needs to take
                                    place between EPA and MSG on this
                                    issue.
  Remedial Action Objectives        EPA has two broad remedial
                                    objectives for McColl: (i) prevent
                                    exposure through direct contact,
                                    inhalation and ingestion, and
                                    (ii) prevent potential future
                                    migration to groundwater. EPA
                                    believes MSG's remedial objectives
                                    are more specific in that they
                                    consider different waste types. EPA
                                    does not consider MSG objectives
                                    (h), (i) and (j) as primary
                                    remediation objectives
                                    (See Attachment A). Another meeting
                                    needs to take place between EPA and
                                    MSG to discuss this issue.
  Selective Excavation              EPA agrees the selective excavation
    Approach                        approach meets the EPA's remedial
                                    objectives, but has yet to agree
                                    with the MSG that it is a remedy



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                                    that treats the waste to the maximum
                                    extent practicable. EPA believes it
                                    must do more work on the MSG
                                    approach to confirm the proposed
                                    technologies will work (e.g.. the
                                    shroud). EPA also believes it must
                                    redo the NCP nine criteria analysis
                                    on this alternative.
  Excavation and                    EPA advised it has screened out
  Incineration                      excavation and off-site incineration
                                    as this alternative is not
                                    cost-effective ($700-800 million).
                                    EPA is continuing to study on-site
                                    incineration. MSG believes the cost
                                    of this alternative also makes it
                                    inappropriate. The cost of $150/yd^
                                    is considered by MSG to be
                                    inappropriately low for a portable
                                    incinerator in the L.A. Basin.
  Schedule                          EPA does not agree that the
                                    decision-making process at McColl
                                    can be completed in 6 months due to
                                    internal process and resource
                                    constraints. EPA currently believes
                                    all of the SROA alternatives need to
                                    be updated and the new alternatives
                                    fully evaluated. MSG believes the
                                    selective excavation alternative
                                    needs to be evaluated and added to
                                    the SROA. DHS does not believe the
                                    EIR can be redone until the Proposed
                                    Plan has been issued. MSG believes
                                    the EIR can be placed on a parallel
                                    track with preparation of the
                                    Proposed Plan. The schedule needs
                                    to be discussed further between MSG
                                    and DHS, with follow-up discussions
                                    with EPA.
  Risk Assessment                   EPA is still analyzing whether the
                                    SROA risk assessment needs to be
                                    redone to satisfy new guidance. MSG
                                    believes the risk assessment need
                                    only address the new alternative,
                                    selective excavation. EPA has asked
                                    ICF, its risk assessment contractor,
                                    to determine whether EPA needs to
                                    redo the SROA risk assessment in
                                    order to comply with the new risk
                                    assessment guidance. MSG requested



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                                    that EPA and MSG contractors meet
                                    soon to discuss the underlying
                                    premises for the risk assessment.
  Trial Excavation - Site           EPA's contractor, Edward Aul, made a
    Applications Analysis           presentation on the initial work
    Report                          regarding scaling up the trial
                                    excavation to a full scale
                                    excavation. MSG will review the
                                    materials provided and communicate
                                    any questions or comments to EPA.
  Next Meeting Date                 EPA and MSG have agreed to meet on
                                    August 29 and September 10.




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                                     Exhibit 47
                                       6639
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    •t       Case 2:91-cv-00589-CJC Document 677-18 Filed 07/10/20 Page 6 of 41 Page ID #:6683




                                               ATTACHMENT A




                                                  Exhibit 47
                                                    6640
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                                       McColl
                             MSG/EPA TECHNICAL MEETING
  WASTE CHARACTERISTICS

  •   Tarry Wastes: Semi fluid in nature, these wastes periodically flow to the surface
      through fractures in the cover. Upon reaching the surface, the material hardens as a
      result of oxidation and volatilization of the volatile organics and off-gassing of the sulfur
      dioxide. It has the same general chemical characteristics as the asphaltic wastes
      although higher levels of volatile organics. Tarry materials have been characterized as
      the source of odors experienced by the community.

  •   Drilling Mud: Drilling muds were placed on the site to neutralize and stabilize the
      acidic wastes. They are mixed with the site wastes and hence contain the same
      contaminants but at lower concentrations.

  •   Asphaltic Wastes: This material makes up the largest volume of waste. Due to its hard
      physical nature, this material is immobile. The asphaltic waste was originally more fluid
      in nature. The shift to the asphaltic condition has occurred over time and is a result
      of the chemicals which are present and site conditions. Chemical composition is similar
      to that of the tarry wastes, although the volatile organics are lower and SO2 higher.
      The wastes are relatively impermeable to movement of the SO2. Disturbance of the
      waste releases large amounts of SO2.

  •   Arsenic: Not a component of the original waste, it is thought to be a result of midnight
      dumping in the lower Ramparts sumps, possibly the washings from an insecticide truck
      after placement of the drilling muds. It is found only near the surface.

  •   Contaminated Soil: Soils in the surface or underlying the waste which have contacted
      the wastes and contain contaminants. Surface soils are contaminated by the tarry wastes
      passing through the soil. Underlying soils having been contaminated when liquid wastes
      were initially placed at the site. Contaminants are characterized by tarry materials,
      volatile organics and low pH.




  McColl Site Group 8/6/91



                                             Exhibit 47
                                               6641
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                                      McColl
                            MSG/EPA TECHNICAL MEETING
   CONTAMINANTS OF CONCERN

   •   Volatile Organics:
        Benzene
        Thiophenes


       Inorganic:
        Acidic Nature (low pH)
        Sulfur Dioxide
        Arsenic




   McColl Site Group 8/6/91



                                     Exhibit 47
                                       6642
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                                       McColl
                             MSG/EPA TECHNICAL MEETING
   PATHWAYS

   •   Contact: Limited to onsite exposure to tarry materials which periodically seep to the
       surface. Other wastes, including hot spots of arsenic, are under several feet of soil and
       thus not accessible. Soil erosion (wind and water) or a seismic event could potentially
       expose waste.

   •   Air: Air borne contaminants (volatile organics, sulfur'dioxide and arsenic) from the
       waste mass or periodic surface seeps.

       - Undisturbed Waste - Onsite emission impact from undisturbed waste varies from
         minimal (uncovered waste) to nondetectable (covered waste). Effects limited to
         odor. Offsite emission impact from undisturbed waste is limited to periodic odors
         from uncovered wastes.

       - Disturbed Waste - Onsite emission impact varies from moderate to extreme
         depending upon the level of waste disturbance and engineering controls. Failure of
         engineering controls poses offsite risk. Soil erosion (wind and water) or a seismic
         event could potentially expose the waste and increase emissions.

   •   Surface Water: Leaching of volatile organics and metals into the surface water where
       it could flow offsite. Water contacting waste is limited to periodic rainfall contacting
       tarry waste that has seeped to the surface. Analysis of surface runoff has yielded very
       low to non detect levels of McColl contaminants.

   •   Groundwater: Leaching of contaminants through the vadose zone to ground water ind
       which could potentially limit its uses. After 40 years, there is no contaminant pattern
       found in the monitoring well system which indicates contaminates are leaching into
       ground water.




  McColl Site Group 8/6/91



                                            Exhibit 47
                                              6643
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                                      McColl
                            MSG/EPA TECHNICAL MEETING
   REMEDIATION OBJECTIVES

        In the development of remedial alternatives for the McColl Site, the overall objective
        is to protect human health and the environment. Any remediation alternative
        proposed for the McColl site must attain residual risk levels within the NCP cancer
        risks criterion of 1 x 10"6 to 1 x 10"4 and a hazard index for non-cancer effects of less
        than 1.0. Potential odor and other aesthetic problems also should be mitigated.
        Thus, an appropriate remedial alternative at the McColl site should:

        a.     Eliminate exposure by direct contact and paniculate emissions from arsenic-
               containing materials.
        b.     Eliminate exposure to volatile organic compounds and inorganic gases.
        c.     Eliminate the potential for direct contact with seeps and inhaling volatile
               chemicals from seeps.
        d.     Prevent leaching of contaminants into ground water.
        e.     Prevent migration of contaminants offsite via surface water.
        f.     Eliminate community exposure to site odors.
        g.     Prevent contact and exposure to emissions from asphaltic wastes,
        h.     Protect against seismic event(
        i.     Provide a site that is compatible with the surrounding community,
        j.     Balance the reduction in residual risk against any implementation risk to
               workers and nearby residents




  McColl Site Group 8/6/91


                                            Exhibit 47
                                              6644
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                                       McColl
                             MSG/EPA TECHNICAL MEETING
   RESPONSE ACTIONS


   The MSG approach will protect human health and the environment by satisfying the
   remedial action objectives as follows.

   • Exposure to arsenic materials will be eliminated by excavating material within 3 feet of
   the surface with concentrations above 50 ppm. This material will be solidified to satisfy
   BOAT requirements of the federal land ban regulations and disposed of offsite. A RCRA-
   equivalent cap will be installed over remaining materials.

   • Exposure to volatile organic compounds (VOCs) and inorganic gases will be eliminated
   by removing the seeps, installing a RCRA-equivalent cap over the site and installing an
   active emission collection and treatment system.

   • Direct contact with seeps and associated exposure to odor, VOC emissions and acidic
   material will be eliminated by 1) pre-treating, excavating, and thermally destroying or
   redisposing existing seeps and select tar zones, or 2) in-situ solidification of select tarry
   material. In addition, the site will be capped and have an active emission collection and
   treatment system.

  • Contamination of ground water will be prevented by eliminating infiltration, which will
  be accomplished by installing a RCRA-equivalent cap with a permeability of less than 10"7
  cm/sec. There will be surface grading and drainage to direct rain water away from the
  sumps. Slurry walls around the sumps will prevent lateral migration of any perched ground
  water. Long-term monitoring of ground water quality will also be performed.

  • Migration of contaminants offsite via surface water will be prevented by installing a
  RCRA-equivalent cap and runoff collection system over the remaining materials.

  • The community's exposure to odors from the site will be prevented by installing a RCRA-
  equivalent cap over the sumps and an emission collection/treatment system.

  • Exposure to emissions from the asphaltic waste will be prevented by the installation of
  a RCRA-equivalent cap and an emission collection/treatment system.

  • Creation of a park-like site that is compatible with the surrounding community will be
  accomplished by landscaping, including the installation of sidewalks, slumpstone walls,
  modifications to Rosecrans Boulevard and planting of trees and shrubs. Operation and
  maintenance will be performed to assure continuous site operation and appearance.

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                                             Exhibit 47
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  • Protection from seismic events will be achieved by solidifying drilling muds and installing
  backfills and crib walls designed to withstand a maximum credible earthquake.

  • Risks to workers and residents during implementation will be minimized by avoiding
  disturbance of the asphaltic materials and controlling the excavation rate to limit emissions
  released. All excavations and in-situ treatment will be performed within positive air
  pressure enclosure with redundant air collection and purification systems. Continuous
  monitoring of emissions within the enclosures, around the enclosures and at site perimeters
  will be performed to ensure protection of workers and the community.




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OBJECTIVE
Prevent Contact w/Arsenic
                                         •
Prevent Exposure to VOCs/Go»es                   +
                                                     •
Ciminate Seeps
                                                 •• •
Prevent Ground voter Cofttammobon
                                                                  •••
Prevent Offsite Mgration/Surfaoe Water
                                         •                        •     •
Prevent Odors
                                                 •                          ••
Prevent Asphalt Emissions                                                     »
                                                 •                          •                 •
Protect Against Seismic Events
                                                              •                               •
Provide Pork -ft* Area                       0
                                                                                          •
MMmize Short-term Risks                          0                                0
                                             •                              ••        •




McColSite Croup    8-6-91
                                                     Exhibit 47
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                  DEPOSITED WA!                                        ;COLL


                                 ARSENIC MATERIAL

                                 DRILLING MUD

                                 TARRY MATERIAL

                                 ASPHALTIC MATERIAL




McColl Site Group 8/6/91


                                                Exhibit 47
                                                  6648
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                                                                                      9orir>A/i icn?snt v




                                                   Arsenic - 50 to 5,000 ppm
                                                   SO2 Emission Rate - None/Low
     SHALLOW ELEVATED ARSENIC
                                                   Average Depth - 2.5 ft.
                                                   Volume -1,800 c.y.
                                                   Migration Potential - None/Low
                                                   Existing Geotechnical
                                                   Instability Potential - Low




                                                                   CHARACTERISTICS OF
                                                                    ELEVATED ARSENIC

                                                                         McCOLLSITE
                                                             ENVIRONMRNTAI> SOLUTIONS, INC.
                                      Exhibit 47
                                        6649                                                    fl/ft/QI
Case 2:91-cv-00589-CJC Document 677-18 Filed 07/10/20 Page 16 of 41 Page ID #:6693
                                                                                         90336A/HCH?6HIV




                                                   Arsenic - Low
        DRILLING MUD                               SO2 Emission Rate - Low
                                                   Maximum Depth -13 ft.
                                                   Volume -10,900 c.y.
                                                   Migration Potential - None
                                                   Existing Geotechnical
                                                   Instability Potential - High




                                                                    CHARACTERISTICS OF
                                                                       DRILLING MUD

                                                                         McCOl L SITfc

                                                              ENVIRONMENTAL SOLUTIONS, INC.
                                      Exhibit 47
                                        6650                                                    8/6/91
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                                                                                         uo nr.A/i K M^ani v




                                                   Arsenic - None
             - TARRY MATERIAL
                                                   SO 2 Emission Rate - High
                                                   Maximum Depth -17 ft.
                                                   Volume - 5,900 c.y.
                                                   Migration Potential - High
                                                   Existing Geotechnical
                                                   Instability Potential - High




                                                                     CHARACTERISTICS OF
                                                                       TARRY MATERIAL

                                                                          McCOl L SO E
                                                               ENVIRONMENTAL SOLUTIONS, INC.

                                      Exhibit 47                                                   8/6/91
                                        6651
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            ASPHALTIC MATERIAL                     • Arsenic - None
                                                   • SO2 Emission Rate - High
                                                   •    Maximum Depth - 30 ft.
                                                   •    Volume - 48,000 c.y.
                                                   •    Migration Potential - None
                                                   •   Existing Geotechnical
                                                       Instability Potential - None



                                                                    CHARACTERISTICS OF
                                                                    ASPHALTIC MATERIAL

                                                                         McCOLL SITE
                                                               ENVIRONMENTAL SOLUTIONS, INC.

                                      Exhibit 47
                                                                                         8/6/91
                                        6652
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                    WASTE CONCERNS AT McCOTJ,


                                            ODORS

                                            LOWpH

                                            SO2

                                            BENZENE

                                            ARSENIC




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                                                Exhibit 47
                                                  6653
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                                      DIRECT CONTACT

                                      INGESTION

                                      INHALATION

                                      SURFACE WATER

                                      GROUND WATER




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                                                 6654
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OVERALL OBJECTIVE; PROTECT4 HUMAN HEALTH AND ENVIRONMENT
                                          no- TO

McCQLL REME1


    ELIMINATE EXPOSURE TO ARSENIC
    ELIMINATE EXPOSURE TO VOCs AND INORGANIC GASES
    ELIMINATE CONTACT WITH SEEPS
    PREVENT CONTAMINATION OF GROUND WATER
    PREVENT OFFSITE MIGRATION VIA SURFACE WATER
    ELIMINATE COMMUNITY EXPOSURE TO ODORS
    PREVENT CONTACT/EMISSIONS FROM ASPHALTIC WASTES
    PROVIDE A SITE COMPATIBLE WITH SURROUNDING COMMUNITY
    MINIMIZE IMPLEMENTATION RISKS




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                                                Exhibit 47
                                                  6655
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REMEDIATION GOAL:

ELIMINATE EXPOSURE TO ARSENIC MATERIALS


RESPONSE:

•   EXCAVATE AND TREAT THE SHALLOW ELEVATED
    ARSENIC MATERIAL AND DISPOSE IT OFFSITE

•    INSTALL RCRA-EQUIVALENT CAP




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                                                Exhibit 47
                                                  6656
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REMEDIATION GOA :

ELIMINATE EXPOSURE TO VOCs AND INORGANIC
GASES




     EXCAVATE/TREAT SEEPS

     INSTALL RCRA-EQUIVALENT CAP

     COLLECT AND TREAT EMISSIONS


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                                                Exhibit 47
                                                  6657
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REMEDIATION GOAL:

ELIMINATE APPEARANCE OF SEEPS AND EXPOSURE TO ODORS, VOCs
AND ACIDIC MATERIALS


RESPONSE:

•   PRE-TREAT, EXCAVATE AND THERMALLY DESTROY OR REDISPOSE
    EXISTING SEEPS AND SELECT TAR ZONES

•    IN-SITU TREAT/SOLIDIFY SMALLER POTENTIALLY MOBILE TARRY
     ZONES

•    INSTALL RCRA-EQUIVALENT CAP

•    COLLECT AND TREAT EMISSIONS




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                                                Exhibit 47
                                                  6658
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REMEDIATION GOAL:

PREVENT LEACHING OF CONTAMINANTS INTO GROUND WATER
                          *

RESPONSE:

•    INSTALL RCRA-EQUIVALENT CAP
         + < 107 CM/SEC COVER
         + SURFACE GRADING AND DRAINAGE TO DIRECT RAIN WATER
         AWAY FROM SUMPS

•    INSTALL SLURRY WALLS AROUND REMAINING MATERIALSTO
     ISOLATE FROM PERCHED WATER

•    MONITOR GROUND WATER QUALITY




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                                                Exhibit 47
                                                  6659
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PREVENT OFFSITE MIGRATION OF CONTAMINANTS
VIA SURFACE WATER


RESPONSE:

•    INSTALL RCRA-EQUIVALENT CAP AND RUNOFF
     COLLECTION SYSTEM

•    SURFACE GRADING AND DRAINAGE TO DIRECT
     SURFACE WATER AWAY FROM SUMPS


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                                               Exhibit 47
                                                 6660
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REMEDIATION GOAL:

ELIMINATE COMMUNITY EXPOSURE TO ODORS


RESPONSE:

    INSTALL RCRA-EQUIVALENT CAP

    COLLECT AND TREAT EMISSIONS




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                                                Exhibit 47
                                                  6661
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REMEDIATION GOAL:

PREVENT CONTACT AND EXPOSURE TO EMISSIONS FROM ASPHALTIC
WASTES


RESPONSE:

•    INSTALL RCRA-EQUIVALENT CAP

•    COLLECT AND TREAT EMISSIONS

•    INSTALL BACKFILLS AND CRIB WALLS DESIGNED TO WITHSTAND A
     MAXIMUM CREDIBLE EARTHQUAKE




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                                                 Exhibit 47
                                                   6662
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REMEDIATION GOAL:

PROTECT AGAINST SEISMIC EVENTS

                                               *

RESPONSE:

•    SOLIDIFY DRILLING MUDS

•   INSTALL BACKFILLS AND CRIB WALLS DESIGNED TO WITHSTAND A
    MAXIMUM CREDIBLE EARTHQUAKE




McColl Site Group 8/6/91


                                                   Exhibit 47
                                                     6663
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REMEDIATION GOAL:

MINIMIZE RISK TO WORKERS/RESIDENTS DURING IMPLEMENTATION

RESPONSE:
                                               *.
•   AVOID DISTURBANCE OF THE ASPHALTIC MATERIALS

•    MINIMIZE AND CONTROL RATE OF EXCAVATION TO LIMIT
     EMISSIONS

•    PERFORM ALL EXCAVATION/IN-SITU TREATMENT WITHIN
     POSITIVE AIR PRESSURE ENCLOSURE WITH REDUNDANT AIR
     COLLECTION/PURIFICATION SYSTEMS

•    CONTINUOUS MONITORING OF EMISSIONS

•    ADOPT COMMUNITY CONTINGENCY PLAN




McColl Site Group 8/6/91


                                                    Exhibit 47
                                                      6664
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         :DIATION GOAL:
PROVIDE A SITE THAT IS COMPATIBLE WITH
COMMUNITY


RESPONSE:

     LANDSCAPING

     SIDEWALKS AND WALLS

     O&M


McColl Site Group 8/6/91


                                                Exhibit 47
                                                  6665
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           EPA'S 2V2 YEAR SCHEDULE FOR MCCOTJ



ITEM:                                                                                         DATE:

FINALIZE FS                                                              FEBRUARY 1992

FINALIZE NINE CRITERIA ANALYSIS                                               AUGUST 1992

ISSUE PROPOSED PLAN                                                    NOVEMBER 1992

ISSUE ROD                                                              DECEMBER 1993




McColl Site Group 8/6/91


                                               Exhibit 47
                                                 6666
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        MSG's SIX-MONTH SCHEDULE FOR MCCOIJ.

ITEM:                                                                                          DATE:

MEETINGS BETWEEN EPA AND MSG                                                AUG-OCT 1991
 TO AMEND SROA

ISSUE AMENDED SROA, PROPOSED                                                 END OCT 1991
  PLAN & DEIR

PUBLIC COMMENTS               NOVEMBER 1991
BEGIN CONSENT DECREE NEGOTIATION

ISSUE ROD & EIR
SIGN CONSENT DECREE                                                      FEBRUARY 1992


McColl Site Group 8/6/91


                                                Exhibit 47
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              SUGGESTED 1991 MEETINGS BETWEEN EPA & MSG

ITEM/MEETING                                                                    DATE

DISCUSSION OF PRINCIPAL THREAT                                                  AUG 5-16
REMEDIAL ACTION OBJECTIVES                                                      AUG 5-16
HOW MSG ALTERNATIVE MEETS OBJECTIVES                                            AUG 5-16
SROA ALTERNATIVES AGAINST NEW NCP                                               AUG 12-23
TECHNICAL STUDIES/REMEDIAL ACTION OBJECTIVES                                    AUG 12-23
REVIEW OF RISK ASSESSMENT                                                       AUG 12-23
DISCUSSION OF DEIR                                                              AUG 12-23
REVIEW OF ARARS                                                                 AUG 12-23
TECHNICAL EVALUATION OF SELECTIVE EXCAVATION                                    AUG 19-SEP 13
COMMENCE AMENDMENT OF SROA AND DEIR AND                                         AUG 19-SEP 13
    DRAFTING OF PROPOSED PLAN
REVIEW MSG ALTERNATIVE COSTS                                                    AUG 30-SEP 13
INDIVIDUAL & COMPARATIVE ANALYSIS                                               AUG 30-SEP 20
ISSUE AMENDED SROA, PROPOSED PLAN AND DEIR                                      OCT 1991
PUBLIC COMMENTS ON PROPOSED PLAN                                                NOV 1991
ISSUE ROD & EIR                                                                 FEB 1992


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                                                          TABLE 2.1

             TECHNICAL FEASIBILITY ISSUES REGARDING EXCAVATION UNDER AN ENCLOSURE
System Components             Trial Excavation                      Fun-Scale Remediation        Reason For Change
Excavation Equipment
 -Backhoe                     Track-mounted, with 20 ft             Track-mounted, with 31 ft    Need to excavate deeper
                              digging depth and 1 yd3               digging depth and 3 yd3      sumps and move more
                              bucket                                bucket                       material efllcioiNly
  Loader                      Wheel-mounted with 1 yd3              Track-mounted with 3 yd3     Sloped terrain and the need
                              bucket                                bucket                       to move more material
                                                                                                 efficiently
Endoeure
 -Size                        120 ft x 60 ft x 25 ft                300ftx120ftx60ft             Need to excavate entire
                                                                                                 sumps and accommodate
                                                                                                 larger equipment
 - Number required            One                                   Four                         Maximize operations
                                                                                                 flexibility, productivity, and
                                                                                                 safety

 -Airlocks                    One personnel airlock; no             One personnel air lock and   Trucks wi regularly move
                              vehicle airlocks                      two vehicle airlocks         into and out of enclosures for
                                                                                                 material transport

Air Ventilation System
 -Size                        Nominal 1,000 ACFM                    Nominal 130,000 ACFM         Greater surface area
                                                                                                 exposed, maintain lower
                                                                                                 pollutant concentration levels




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  Air exhaust and delivery      Air delivery and exhaust             Fresh air will be delivered to   Reduce effective
       design                   portals hi enclosure walls           the work areas via flexible      concentrations of pollutants
                                                                     ducting, exhaust hoods with      within enclosure to which
                                                                     flexible ducting wiH capture     workers are exposed
                                                                     pollutants near sources
Foam System
 - Temporary foam               Used on moving waste                 Will not be used                 Ineffective in suppressing
                                surfaces                                                              emissions; discharged water
                                                                                                      to floor areas, complicating
                                                                                                      operations
  Stabilized foam               Used on stationary waste             Win be used on stationary        N/A
                                surfaces                             waste surfaces

SO^artteutate Scrubber
 -Number/capacity               One/1,000 ACFM                       Four/35,000 ACFM each for        Accommodate higher ahr
                                                                     excavation enclosure             ventilation rate

 - LJquor pH/blowdown           Manual                               Automatic                        Avoid foaming and plugging
       control

Granular Activated Carbon
       Unit
 • Number/capacity              One/1500 ACFM                        16 (12 operating/4               Accommodate higher air
                                                                     spare)/12,000 ACFM each for      ventilation rate
                                                                     excavation enclosure

 • Duct burner                  None                                 One natural gas-fired burner     Avoid moisture condensation
                                                                     In each of four APCD trains      In GAC unit. Increase
                                                                     for excavation enclosure         adsorption efficiency




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                     LEVEL Or
                     GREATEST DEPTH
                     FOR PERSONNEL (24")




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                 Figure 4-2. Excavation of Center Column in Sump R-2.

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       WEST                                                         R-2:   144' E/W X 142' N/S
DO
to                                                        SOUTH                  (AT WIDEST POINT)

                                                                    ENCLOSURE: 120' X 300'




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         TABLE 4-1. PLANNING RESULTS FOR EXCAVATION UNDER AN ENCLOSURE AT MCCOLL
                            Number of               Lengtlvx     In-plac*         Excess        Total
                            enclosure     Depth*     width       volume         excavation   excavation
      Sump                  positions       ft         ft           yd*         volume, X    volume, yd*
      Los Coyotes Area
          L-l               .   4           31      272 x 151     13,600           16.4        16.300
          1-2                   2           35      163 x 125     10,500           18.4        12.400
          1-3                   2           37      142 x 118     12.500           13.2        14.100
          L-4                   1           33      126 x 76      6.200            0.7          6,600
         1-5                    1           45      97 x 66       5.700            6.7          6.100
         1-6                    1           35      116 x 65      8,400            2.2          8,600
      Ramparts Area
         R-l                    4           28      144 x 132     6,800            7.2          9,400
         R-2                    3           55      144 x 142     9,800           144.9        21,100
         R-3                    2           31      161 x 142      6.600           5.9          7.200
         R-4                    2           30      146 x 116      7,300            10          e.ooo
         R-5                    2           35      170 x 67      11.600           23.3        14.500
         R-6                    7           45      234 x 146     19,600           39.6        27.400
      Totals                -   31          »_         _.         121,200           ..         151,700
     a


         Lenoth and width of sump at grade level.
  O ^ Volume to be excavated in excess of in-place volume (including covers).
  C. * Based on (CH2H-Hi11 1966).




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                                      DRAFT
           TABLE 4-2. AIR VENTILATION SYSTEM SPECIFICATIONS AND COSTS

              Component/spec i fi eat i ens
             Air Supply Blower
               32.522-cfm throughput
               4 Inches water pressure drop
               40 HP motor .
              Air Supply Ducting
                200 ft in length
                3 ft in diameter
                FRP construction
              SO, Scrubber
                35.000-cfm throughput
                2 to 4 inches water pressure drop
                10-ft packed bed
                300-gpm recirculation pump
                Automatic controls for pH and sump level
                Slowdown pump
                Reagent metering pump
                Mist eliminator
                HPDC construction
              Inducted-Dreft Fan
                32,500-cfm throughput
                20 inches water suction pressure
                200-hp motor
              Reagent Storage Tank
                2000-gallon capacity
                FRP construction
              61owdown Wastewater Storage Tank
                550-gallon capacity
                FRP construction
              Duct Burner
                20'F temperature rise
                1 million BTU/h heat input
              6AC Adsorber Modules
                3 operating modules/1 spare
                12,000-cfm throughput each
                5-7 Inches water pressure drop
                5100-1b carbon each
                0.6-second residence time
              Air Exhaust Ducting
                J50 ft In length
                3 ft in diameter
                316 stainless itee] construction




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